      Case 2:21-cv-00326-SMJ    ECF No. 29    filed 03/12/22   PageID.1071 Page 1 of 3




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 7
 8
                         UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF WASHINGTON
10
11   JEREMY OLSEN,
                                                    No. 2:21-CV-00326-SMJ
12                             Plaintiff,
                      v.
13                                                 DECLARATION OF
     XAVIER BECERRA, in his official               JOHN T. DRAKE
14
     capacity as Secretary of the United States
15   Department of Health and Human
     Services,
16
17                             Defendant.

18        I, John T. Drake, hereby declare as follows:
19
          1.     I am over the age of 18 and competent to testify herein. I have personal
20
21 knowledge of the facts set forth below.
22        2.     I am counsel of record for Defendant in the above-captioned case.
23
          3.     Attached hereto as Exhibit A is a true and correct copy of an email
24
25 message I sent to James Pistorino, counsel for Plaintiff, on February 25, 2022, along
26 with the PDF document that was attached to that email. The portions of this email
27
   that are relevant to the instant motion are highlighted in yellow.
28
     DECLARATION OF JOHN T. DRAKE - 1
      Case 2:21-cv-00326-SMJ     ECF No. 29    filed 03/12/22   PageID.1072 Page 2 of 3




           4.     Attached hereto as Exhibit B is a true and correct copy of an email
 1
 2 message I sent to Mr. Pistorino on February 28, 2022. The portions of this email that
 3
     are relevant to the instant motion are highlighted in yellow.
 4
           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the above
 5
 6 statements are true and correct.
 7
            DATED: March 12, 2022
 8
 9                                                 Respectfully submitted,

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11                                                 s/John T. Drake
                                                   John T. Drake
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     DECLARATION OF JOHN T. DRAKE - 2
      Case 2:21-cv-00326-SMJ     ECF No. 29    filed 03/12/22   PageID.1073 Page 3 of 3




                                CERTIFICATE OF SERVICE
 1
 2         I hereby certify that on March 12, 2022, I caused to be delivered via the method
 3
     listed below the document to which this Certificate of Service is attached (plus any
 4
     exhibits and/or attachments) to the following:
 5
 6     NAME & ADDRESS                             Method of Delivery
 7
       Roger Townsend                             ☒CM/ECF System
 8     BRESKIN JOHNSON TOWNSEND                   ☐Electronic Mail
 9     1000 Second Ave., Suite 3670               ☐U.S. Mail
       Seattle, WA 98104
10                                                ☐Other: _______________________
       James Pistorino                            ☒CM/ECF System
11     PARRISH LAW OFFICES                        ☐Electronic Mail
12     788 Washington Road                        ☐U.S. Mail
       Pittsburgh, PA 15228
13                                                ☐Other: _______________________
14
                                                  s/John T. Drake
15                                                John T. Drake
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     DECLARATION OF JOHN T. DRAKE - 3
